Where a tract of land is as to part, included in A.'s deed or patent, and the same part is also included in B.'s deed or patent, and each grantee is settled upon that part of the land comprised in his deed, although not included in both deeds, the possession of the part included in both deeds is in him whose deed or patent is (152) the eldest.
But, if one of them is actually settled for seven years together, upon the part comprehended in both deeds, the possession is his, and the other will be barred thereby.
[EDITORS' NOTE:  THE DIAGRAM IS ELECTRONICALLY NON-TRANSFERRABLE.], SEE 1 N.C. 137.]
NOTE. — See Borrets v. Turner, 3 N.C. 113, and the cases referred to in the note thereto.